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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION


 YONAS FIKRE,

        Plaintiff,                          Civil No. 3:13-cv-00899-BR

        v.                                  PLAINTIFF'S MEMORANDUM IN
                                            OPPOSITION TO OFFICIAL
 THE FEDERAL BUREAU OF                      DEFENDANTS' MOTION TO DISMISS
 INVESTIGATION, et al,
                                            ORAL ARGUMENT REQUESTED
        Defendants.

                                      I. INTRODUCTION

       In their November 4 motion to dismiss, the official-capacity defendants posited

two primary arguments - that the doctrines of ripeness and exhaustion of administrative

remedies should bar plaintiff from proceeding further in this litigation, and then raised a

number of secondary arguments. This memorandum responds to that motion; before

proceeding into argument, however, the salient background should be considered.




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                                          II. BACKGROUND
       The allegations in plaintiff's complaint, which must be accepted as fact for the

purposes of defendants' motion,1 can be summarized as follows:

   ●   Plaintiff, a naturalized citizen of the United States of Eritrean descent, First
       Amended Complaint, Dkt. # 10, ¶ 4, and convert to Islam, lived with his family for
       a while in San Diego, but later moved to Portland, where he attended and had
       friends at Portland's As-Saber mosque, id. ¶ 25;

   ●   After discussing the matter with family members, plaintiff decided to pursue new
       business interests in East Africa and the Middle East, id. ¶ 21;

   ●   To pursue this goal, plaintiff went to Sudan, where he pursued acquiring the
       necessary business and other licenses to engage in trading of consumer
       electronics, id.;

   ●   While in Sudan, representatives claiming to be with the U.S. Embassy lured him
       to the embassy by ostensibly inviting him to attend a luncheon meeting with other
       Americans so that the American community could be briefed on "staying safe"
       during the election period in Sudan, id. ¶ 22;

   ●   When plaintiff arrived at the embassy he was met by two FBI agents, defendants
       David Noordeloos and one who gave is name as "Jason Dundas," which has
       proved to be an alias. The agents were affiliated with the Portland FBI field office,
       id. ¶ 23;

   ●   When told that he was to be interviewed by the agents, plaintiff requested that he
       consult with his attorney, Brandon Mayfield, co-counsel in this case. The agents
       told him that he could not do so because plaintiff was on the No-Fly List ("List")
       and could not return to the U.S. for such consultation. From that point forward
       plaintiff felt trapped in the embassy, id. ¶ 24;

   ●   During the interrogation the agents inquired about plaintiff's activities, financing,
       events and happenings at the Portland mosque, id. ¶ 25;

   ●   During the interrogation, the agents stated that they were working on "a case,"
       presumably in Portland, and importuned plaintiff to become a paid informant for
       the FBI, promising him that he would be removed from the List, be paid
       substantial amounts of money, and be able to enjoy "the good life," id. ¶ 26;



       1
          In reviewing a motion to dismiss, the Court must accept as true the facts alleged in the
complaint and all reasonable inferences that can be drawn from them. Terbush v. U.S., 516 F.3d 1125,
       th                                                                              th
1128 (9 Cir. 2008); Mohammed v. Jeppeson Dataplan, Inc., 614 F.3d 1070, 1073 (9 Cir. 2010).

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   ●   Toward the end of the day the agents suggested that they meet the following day
       to pursue further whether plaintiff would become a paid informant. Plaintiff
       agreed to such meeting in order to escape the embassy, id.;

   ●   Early the next morning plaintiff called agent Noordeloos and told him that he did
       not want to become an informant and thus would not attend the meeting. Agent
       Noordeloos expressed exasperation and anger, id. ¶¶ 27-28;

   ●   For weeks afterward plaintiff was followed and targeted by persons plaintiff
       believes were governmental agents, id. ¶ 29;

   ●   Plaintiff decided to abandon his efforts in Sudan and instead moved to the United
       Arab Emirates, where he sought to establish his business dealing in consumer
       electronics, id. ¶ 30;

   ●   On June 1, 2011, while at his home in Al-Ain in the Emirate of Abu Dhabi, plaintiff
       was arrested by UAE secret police and transferred to a prison in Abu Dhabi,
       where he endured 106 days of torture, id. ¶¶ 31 et seq.;

   ●   During his incarceration and torture, plaintiff was repeatedly interrogated
       regarding his finances, his activities at the Portland mosque, and whether he
       would be willing to cooperate with law enforcement authorities, id. ¶¶ 34, 37;

   ● After approximately seven weeks of interrogation and torture, an official from the
     U.S. embassy visited plaintiff; plaintiff was accompanied by two guards (one on
     each side of him) during the meeting. The guards informed the official that no
     charges had been brought against plaintiff; rather, his incarceration was merely
     for investigative purposes, id. ¶¶ 42-46;

      Toward the end of his ordeal, one of plaintiff's interrogators acknowledged that
       him imprisonment and torture was at the request of the United States, id. ¶ 48;

   ●   On September 15, 2011, plaintiff was told he was being released without charge
       but that he would have to leave the UAE for a year. Plaintiff's jailers took funds
       from plaintiff to purchase him a ticket to Portland, but were told that plaintiff could
       not fly to the U.S. because he was on the List list. Consequently, plaintiff was
       deported to Sweden, id. ¶ 49;

      Plaintiff, fearing for his safety, applied for asylum in Sweden, which application
       has been pending for over two years, id. ¶¶ 51-53;

      In Stockholm, plaintiff's Swedish attorney arranged a press conference covering
       plaintiff's ordeal April 18, 2012. On May 1, 2012, only two weeks after the press
       conference, plaintiff was indicted for conspiracy to structure international
       monetary transfers occasioned by the transfer of family funds to plaintiff in the


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        UAE. Id. ¶ 54. The indictment was dismissed and the arrest warrant for plaintiff
        was withdrawn on October 4, 2013. See Exhibit 1.

With this background, defendants' arguments can be addressed.

                                              III. ARGUMENT

        Before addressing the merits of defendants' argument, a caution is in order.

Defendants' arguments regarding ripeness and exhaustion rely upon facts that are

contrary to the record or not supported by affiant or evidence (e.g., not attempting to

board a plane destined for the United States, not filing a TRIP request). The Ninth

Circuit has cautioned that because fact finding by the court deprives litigants of

protections otherwise afforded by Rule 56, a motion to dismiss is improper. If there are

any disputes as to these factual allegations neither a motion to dismiss nor a motion for

summary judgment is appropriate.2

        Defendants' arguments in support of their motion to dismiss are addressed in the

order presented in defendants' memorandum.

A.      Ripeness for Review

        Defendants' ripeness arguments are (i) that plaintiff has not alleged that he has

been denied boarding on a plane and (ii) that he has initiated the DHS TRIP process.

The first argument is ill‐founded and the second simply wrong.

        1.       Denied Boarding

        Addressing whether plaintiff has been denied boarding, the events on September



        2
           "Jurisdictional finding of genuinely disputed facts is inappropriate when 'the jurisdictional issue
and substantive issues are so intertwined that the question of jurisdiction is dependent on the resolution
of factual issues going to the merits' of an action." Sun Valley Gasoline, Inc. v. Ernst Enterprises, Inc., 711
F.2d 138, 139 (9th Cir. 1983) (citations omitted).


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15, 2011, while plaintiff was in custody at the UAE secret prison, establish that the

United States prevented plaintiff from even acquiring a ticket and boarding pass to

board a plane for a flight home. Because plaintiff's captors required plaintiff to be

deported immediately, plaintiff was required to select some foreign country to which he

would be sent against his will. This is how plaintiff came to seek refuge in Sweden. In

sum, not only was plaintiff denied boarding, he was denied the opportunity even to

purchase a ticket and request a boarding pass before being denied boarding. Because

having a ticket and a boarding pass are prerequisites to boarding an airplane for any

destination, defendants' argument that plaintiff was not denied boarding is false.

       2.     DHS TRIP Redress Process

       Defendants' next ripeness argument is that plaintiff has not initiated the DHS

TRIP redress process. However, since the filing of defendants' motion, plaintiff has

indeed initiated that process and has obtained a Redress number. See Exhibit 2. Even if

he had not taken these steps, however, it is clear that the Redress process is

completely inadequate.

       Filing for a Redress number provides the applicant with no remedy; specifically, it

will not result in informing the applicant whether he/she is on the List nor any reasons

for, or opportunity to challenge, such presence on the List. This is because the primary

function of the Redress process is to eliminate "false positives" from the identification

process; see Latif v. Holder, 686 F.3d 1122, 1125 (9th Cir. 2012) ("Latif"). In addition,

notwithstanding the Ninth Circuit's decision in Latif, the government still apparently has

not abandoned the notion that the sole remedy to one who does initiate the Redress




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process is to appeal any determination or lack thereof to the Court of Appeals -- a

remedy that the Court of Appeals for the Ninth Circuit found inadequate in Latif.

        In footnote 8 at page 15, defendants argue that plaintiff's actions are unlike other

cases now before this court, viz. Latif and Tarhuni v. Holder. Defendants are wrong, at

least insofar as their reference to the Tarhuni case: Mr. Tarhuni filed his TRIP request

after the filing of his complaint, just like plaintiff in this case. And, in Mr. Tarhuni's case,

it is clear that his filing provided absolutely no remedy: He still has not been given an

opportunity to challenge the reasons why he is on the list and he remains on the list to

this day.3

        Defendants at page 8 assert that the claim is not ripe because plaintiff has not

attempted to return home after being deported to Sweden. Although plaintiff is a citizen

of the United States, in light of the circumstances set forth in the "Background" portion,

supra, it is not surprising that plaintiff has been wary and careful about returning to this

country: He now has refuge in one of the few remaining countries that neither

countenances nor condones torture. And, as a matter of fact, plaintiff has, through his

attorney, had discussions with the United States about plaintiff's possible return.4

Because of the government's past deceptions, the State Department's abandonment of

him, and defendants' participation in plaintiff's abuse, plaintiff is fearful of returning and

thus asked the government to give him two guarantees: That he would not again be

subjected to torture or other extra-judicial process and that he would be allowed to leave


        3
            The Ninth Circuit's Latif decision itself highlights the inadequacy of the TRIP process: "TSA
sends a determination letter to the traveler when determination is complete, but does not confirm or deny
whether the traveler is (or ever was) on the [No‐Fly] List or provide any assurances about future travel."
Latif at 1124.
          4
            See Declaration of Thomas H. Nelson, Exhibit 3, ¶¶ 9-12.

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the United States if he were to return. The government refused to provide assurances

on either point; the government's sole position appears to be that, should plaintiff desire

to return, he should visit the U.S. Embassy in Stockholm to arrange passage.5 It is

utterly unreasonable to ask plaintiff, who has suffered so much already, to leave the

protection of his host country in order to visit the U.S. Embassy only to seek permission

to return to his home. It is particularly inappropriate for defendants to so suggest without

recognizing both his right not to be illegally abused further and to leave this country

should he return.

        3.       Exhaustion

        Defendants concede that the exhaustion requirement is in this instance merely a

prudential limitation. Def. Mem. at 9. The exhaustion issue should be treated as moot

because plaintiff has filed a DHS TRIP request. See Exhibit 2.6

C.      Plaintiff Has "Not Been Prevented from Entering the United States"

        Defendants next move to dismiss because plaintiff has not presented himself to a

port of entry and been denied admission to the U.S. But, because plaintiff is on the List

he is not free to travel to a port of entry. Plaintiff's UAE captors were unable to obtain a

ticket and boarding pass for plaintiff to travel to the United States, which caused

plaintiff's deportation to Sweden. Defendants simply are preventing plaintiff from




        5
           This suggestion itself establishes that plaintiff today is still on the List: Why should an American
citizen have to contact his embassy merely to arrange return travel to his home?
         6
           Much of defendants' argument at pages 10 and 11 focuses upon the primary benefit of the
benefits of the TRIP process: Any misidentification of plaintiff could be resolved. Misidentification is not an
issue in plaintiff's case; here plaintiff was told in person and face-to-face by FBI Agent Noordeloos that he
was on the List, and that statement was corroborated by plaintiff's inability to acquire a ticket and
boarding pass for the United States upon his forced deportation to Sweden.

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presenting himself at a port of entry, and thus should not be heard to blame plaintiff for

his inability to arrive at a port of entry.

        Defendants next misconstrue plaintiff's claim by arguing at page 14 that plaintiff

is seeking to be relieved of screening requirements at airports. Plaintiff does not, and

never has, objected to such screening. Plaintiff seeks nothing more than recognition of

his right to return to his home and be afforded the constitutional protections most

citizens enjoy without having to litigate the matter in federal court.

D.      Due Process and the Redress Program7

        To the merits of the constitutionality of the DHS' TRIP Redress process: At

numerous points in their memorandum, defendants assert that the TRIP process is

"robust."8 Defendants, however, oppose a peek behind the convenient cloak of "national

security," and thus defendants' assertion has to be taken as an assertion of faith,

certainly not of fact.9 As is developed below, the secret Redress process lacks even the

most rudimentary of due-process procedures -- there is neither notice nor opportunity



        7
            This matter has already been presented to this Court on a motion to dismiss and motion for
summary judgment in the Latif matter. For example, the defendants in Latif argued that the court lacked
subject matter jurisdiction over plaintiffs' presence on the List as the matter was an administrative one
that could only be reviewed by the Court of Appeals in accordance with 49 U.S.C. § 46110(a) and not the
district court. On remand, this Court held that it did have jurisdiction, and that the government failed to
afford plaintiffs placed on the List with adequate opportunity to contest their apparent inclusion on the
List. This Court went through the three-factor balancing test discussed infra to determine whether under
the circumstances (being placed on the no fly List under the current TRIP process) plaintiffs had been
provided due process and concluded that they had not. Latif v. Holder, 3:10-cv-0750-BR, Dkt # 110 at 9.
The same factors apply in the present case. Defendants' arguments are meritless.
          8
            See, e.g., Def. Mem. at 20, 21, 29, & 30. If the government's alleged controls over massive
contemporary surveillance programs are an indication, the claim that the controls over the Redress
process are "robust" may well be, at best, a wild exaggeration.
          9
            History is replete with examples of the United States' exaggeration of circumstances and facts
to avoid judicial scrutiny; perhaps the most relevant example involves the birth of the "state secrets"
privilege, in which the United States argued that disclosure of the cause of an airline crash would harm
national security. United States v. Reynolds, 345 U.S. 1 (1953). Forty-seven years later it was discovered
that the cause of the crash had absolutely no bearing on national security; rather, the crash had been
caused by poor maintenance. Https://www.aclu.org/national-security/background-state-secrets-privilege.

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for an individual to contest the secret determinations made by the Terrorism Screening

Center.

        1.      "A Cognizable Protected Interest"

        On page 15, defendants argue that plaintiff has failed to allege the invasion of a

cognizable protected interest. On the contrary, plaintiff in the first Count alleges that one

of the rights of citizenship as guaranteed by the Fourteenth Amendment is to enter

one's own country, and in the fifth Count plaintiff alleges that the right to return to his

homeland is guaranteed by the Fifth Amendment. That the specific Fifth Amendment

interest is a "liberty" interest -- from among the Fifth Amendment's universe of "life,

liberty, or property" -- seems too obvious to require pleading. Moreover, by barring

plaintiff from returning to the United States, it has effectively removed virtually all of the

constitutional protections plaintiff might enjoy as a United States citizen, relegating him

instead to the status of a stateless, homeless refugee seeking the benign protection of

the people of Sweden.

        Defendants then argue that there is no constitutional right to air travel because

alternative means may be available. Def. Mem. at 16. In plaintiff's case such an

alternative necessarily would involve ocean travel. Defendants do not disclose that the

List is used to screen cruise line passengers,10 and therefore the unidentified

alternatives are illusory.


        10
            "The [Customs and Border Protection] screens international passengers. CBP also uses these
lists [including the List] to screen cruise line passengers." Report Assessing the Impact of the Automatic
Selectee and No Fly Lists on Privacy and Civil Liberties as Required Under Section 4012(b) of the
Intelligence Reform and Terrorism Prevention Act of 2004, Public Law 108-458 at i, available at
http://www.dhs.gov/xlibrary/assets/privacy/privacy_rpt_nofly.pdf.



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        Defendants follow this argument by asserting that restrictions on international air

travel are subject to less scrutiny than interstate travel. Id. Here, however, the contrast

to interstate air travel is alarming: In contrast to a citizen's desire to embark on purely

domestic travel, the restriction on plaintiff's international air travel resulted in him

becoming both stateless and homeless. And this result certainly could not have been a

surprise to the United States, for it well knew of plaintiff's incarceration and that plaintiff

would face deportation upon being released from the UAE secret prison.

        Defendants conclude their argument by noting that the government legitimately

may qualify the right to international travel. Plaintiff does not dispute this assertion, but it

is inapposite in the present situation. The cited causes for qualifying the right --

revocation of a passport, imposing quarantines, and extraditing citizens, Def. Mem. at

17-18 -- all require significant procedural due process protections, and none of these

burdens results in converting a United States citizen into a homeless, stateless refugee.

        2.      The Sufficiency of the TRIP Process: Balancing of Interests

        Plaintiff concurs with defendants' argument at page 18 that the scope and

sufficiency of due process protections are elastic depending upon the circumstances.11

Defendants argue that the government's interest in "national security" is compelling, and

plaintiff also generally does not dispute this contention, even though "national security"

has increasingly been used as a justification for acts that previously were deemed




        11
           Defendants note that due process "'is not a technical conception with a fixed content unrelated
to time, place and circumstances,'" and "'is flexible and calls for such procedural protections as the
particular situation demands.'" Def. Mem at 18 (citations omitted).

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abhorrent.12 Even assuming that "national security" might somehow be implicated when

plaintiff, one of over 5000 American citizens on the List, simply seeks to return to his

homeland, it is against this somewhat tenuous interest that plaintiff's own rights and

interests must be balanced. In plaintiff's case, his interest is manifestly compelling:

Whether he, as a United States citizen, will be allowed to board a commercial flight in

order to return to the comfort of his family and enjoy the rights, privileges, and

immunities as an Oregonian or, alternatively, whether he must become a homeless and

stateless refugee seeking the protection of a foreign country simply because defendants

said plaintiff cannot board such a flight. In short, the competing interests in this situation

overwhelmingly favor plaintiff.

        To summarize, if one is to balance defendants' interest in its broadly defined,

amorphous "national security" concept against plaintiff's interest in not becoming a

stateless refugee today obliged to rely on the compassion and decency of the Swedish

people, it is clear in which direction the balance tips. But this inquiry into balancing begs

the question: Precisely what due-process protections have defendants offered or

afforded plaintiff? Their answer: None.

                a.      Notice

        At page 18 of their Memorandum, Defendants cite Mathews v. Eldridge, 424 U.S.

319 (1976) ("Mathews"), which is the wellspring for analyzing what due-process

protections must be afforded in various circumstances. In Mathews, the Supreme Court

        12
           The previously unthinkable have become routine. Examples abound: Torture (waterboarding,
stress positions, beatings, etc.), assassination of American citizens without any judicial process (Anwar
al-Awlaki and his 16-year-old son Abdulrahman Al-Awlaki), "extraordinary rendition " (kidnapping), and
the wholesale invasions of privacy still being revealed by documents obtained by Edward Snowden are
some of the practices now justified by "national security" that not long ago were thought to be beyond the
pale.

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stated that "The essence of due process is the requirement that 'a person in jeopardy of

serious loss [be given] notice of the case against him and opportunity to meet it,'"

Mathews at 348.13

           In this instance, the only official "notice" given to plaintiff was by FBI Agent

Noordeloos, who in 2010 told plaintiff up close and personal that he was on the List.

This "notice," however, was not part of an administrative process; rather, Agent

Noordeloos made the disclosure as part of a threat to pressure plaintiff to agree to

become an FBI informant. Agent Noordeloos' statement does not even meet the

Mathews criteria, for by the criteria of Mathews plaintiff was not informed of "the case

against him," and certainly not an "opportunity to meet it." Indeed, plaintiff has never

been given an opportunity to address the reasons why he is on the List.

                   b.      Opportunity to Be Heard

           To determine what type of hearing an individual faced with a governmental

deprivation is entitled to, Mathews established a three-step process: (i) An analysis of

the private interests affected by the governmental action, (ii) the risk of an erroneous

determination though the procedures used and the possible remediation provided by

additional safeguards, and (iii) the government's interest, including consideration of any

impact that additional procedures would entail. Id. at 335.

                           i.      Plaintiff's Private Interest

           Plaintiff's "private interest" is far more crucial than the claimant's in Mathews; Mr.

Fikre's interest is in his citizenship in the United States and the protections that such



13
     Quoting Joint Anti-Fascist Comm. v. McGrath, 341 U.S. at 171 (Frankfurter, J, concurring).


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citizenship had been thought to guarantee. By denying plaintiff the right to return to his

homeland after lengthy abuse and torture at the hands of foreign captors acting in

coordination with the United States, defendants have denied plaintiff his citizenship,

forcing him to seek refuge in a state not his own.14 Excepting perhaps capital

punishment, it is hard to imagine a more critical private interest.

                         ii.     The Risks Caused by the Procedures Used

        Defendants' Redress process provides those who are denied boarding no notice

of why they have been denied boarding; rather, the primary purpose of the Redress

process is to ascertain in secret that the person denied boarding is the same person

that the government intended to deny boarding in order that a misidentified person not

be further inconvenienced.15 This review is conducted in secret, and at no time is one

on the List ever informed of the reasons for his/her presence on the List. If one is never

told why defendants placed him/her on the List, how can one possibly respond to, let

alone refute, such reasons?

        Mathews also requires consideration of "the probable value, if any, of additional

or substitute procedural safeguards." Id. Because no procedural safeguards exist in the

DHS TRIP Redress process, any safeguards would enhance the accuracy of that


        14
             Defendant State Department's treatment of plaintiff is particularly galling. It engaged in the
subterfuge that lured plaintiff to the embassy in Khartoum, where plaintiff's Fifth Amendment right against
self-incrimination was violated. Then the State Department waited more than a month after being
informed that the UAE secret police had arrested plaintiff to arrange an interview with him. The interview
was in the presence of two guards, one on each side of plaintiff, an obviously coercive situation. The
interview was cursory in the extreme. Even though the guards told the consular representative that there
were no charges being brought against plaintiff, the State Department failed to arrange a second
interview during the subsequent seven weeks that plaintiff was held in custody. And when plaintiff was
deported upon release, the State Department did absolutely nothing either to facilitate plaintiff's return to
his home or to facilitate his travel to a country where he could seek refuge.
          15
             As the DHS website states, " DHS TRIP helps resolve inconveniences resulting from name
similarities by providing a redress control number that allows systems to prevent misidentifications from
happening again." Http://www.dhs.gov/one-stop-travelers-redress-process.

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process. At a minimum, defendants should inform one denied boarding of the basis for

their suspicion that he/she might be linked to terrorism. Such a disclosure can in no way

harm "national security," for merely by being denied boarding will such a person

understand that such a suspicion exists. And, indeed, if the purported concerns about

"national security" are something more than a justification for the convenient cloak of

secrecy, there are numerous ways to accommodate such a concern, e.g., disclosing the

outlines of the basis for the suspicion under a protective order or requiring that the

recipient of such information be investigated and receive authorization to receive

classified information.16 Any procedure that gives notice of why defendants imposed this

draconian sanction would be an improvement over the current system.

                        iii.    The Government's Interest

        Mathews' third factor is "the Government's interest, including the function

involved and the fiscal and administrative burdens that the additional or substitute

procedural requirement would entail." Id. While the government does have an interest in

assuring the security of air travelers, surely there are effective means short prohibiting

approximately 21,000 people from any flying whatsoever.17 For example, informing

persons denied boarding the reason for such denial would impose no additional fiscal or

administrative burden on the government, and additional special screening and

searches can assure that individuals are carrying no contraband, and such screening

and searches and would cause only negligible additional fiscal and administrative

burdens, if any.


        16
          This was the process employed by the District Court in the Al-Haramain litigation, in which Mr.
Steven Goldberg, co-counsel in the Tarhuni litigation, was given top secret security clearance.
       17
          Http://en.wikipedia.org/wiki/No_Fly_List.

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       3.     The Defendants' Arguments against Mathews v. Eldridge

              a.     Revealing Plaintiff's Presence on the No-Fly List

       Defendants first claim that due process does not require defendants either to

admit or to acknowledge that plaintiff is on the List. This is somewhat peculiar, for

defendant Noordeloos already acknowledged that plaintiff's name is on the List, and

also defendants earlier acknowledged that Mathews v. Eldridge requires both notice

and an opportunity to be heard. The cases cited in support of defendants' claim that

notice need not be given are in no way applicable to plaintiff's situation; none involves a

challenge to the lack of constitutional notice in the List context; indeed, the cases do not

even deal with persons who were denied boarding, let alone an individual who become

stateless as a consequence of the List. This point is significant, for Mathews instructs

that the individual's interest in the sanction being imposed are critical, whereas the

individuals' interests in the cases cited by defendants involve a far less draconian

sanction and thus under Mathews logically would require far fewer due-process

procedures. For example, defendants cite Tooley v. Bush, Case No. 06-cv-306, D.D.C.

2006), which involved a person who mentioned a "bomb" in speaking with an airline

representative and suffered the consequences therefrom, FOIA cases (Gordon v. FBI,

388 F.Supp. 2d 1028 (2005)) (no allegation of denial of boarding), Al-Kidd v. Gonzales,

No. cv-05-093 (D. Id. 2007) (removal from airplane in order to be a witness in a trial),

Raz v. Mueller, 389 F.Supp. 2d 1057 (W.D. W. Ark. 2005) (alleging surveillance), and

Barnard v. DHS, 531 F.Supp. 2d 1131 (D.D.C. 2008), on new complaint, 598 F.Supp.




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2d 1 (2009) (detention and search at airport, but no denial of boarding).18 In sum,

plaintiff's interest in his own citizenship and being able to travel to and from, and reside

within, his own homeland far outweighs the interests in the cases cited by defendants.

Consequently, defendants should be obliged to disclose to plaintiff whether he is on the

List.

                b.       Revealing the Basis for Listing

        Defendants next argue that they should not be required to disclose why plaintiff is

on the List. The Mathews opinion cited by defendants quoted Justice Frankfurter on

due-process notice requirements: "The essence of due process is the requirement that

'a person in jeopardy of serious loss [be given] notice of the case against him and

opportunity to meet it . . . .'" Mathews at 348. In light of the overwhelming individual

interest plaintiff has avoiding becoming a refugee and in enjoying all of the rights of

citizenship, it is hard to imagine a more compelling instance in which an individual would

not be entitled to the reasons why he was placed on the List.

        Defendants do not consider plaintiff's interest; instead, they blithely mention

classified information and "national security," and raise separation of powers issues in

an attempt to defeat this Court's jurisdiction. Addressing the latter argument first, it was

Chief Justice Marshall in Marbury v. Madison19 who noted that, "The Government of the

United States has been emphatically termed a government of laws, and not of men. It



        18
             Defendants also cite Clapper v. Amnesty International, 113 S.Ct. 1138 (2013), an electronic
surveillance case which the Supreme Court dismissed on standing grounds -- the plaintiffs could not
establish that they had been subjected to surveillance under the Foreign Intelligence Surveillance Act
("FISA"). While the citation to Clapper is interesting, it is both irrelevant and inapposite to plaintiff's
situation. It is inapposite because plaintiff can, in fact, establish by the government's own admission that
plaintiff was subjected to surveillance under FISA. See Exhibit 4.
          19
             5 U.S. (1 Cranch) 137 (1803).

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will certainly cease to deserve this high appellation if the laws furnish no remedy for the

violation of a vested legal right."20 Justice Marshall then penned words that still have

enormous force: "It is emphatically the province and duty of the Judicial Department to

say what the law is."21 When the government has invaded interests as vital as plaintiff's,

Article III courts have both the right and the duty to exercise their jurisdiction.

         Addressing defendants' assertions regarding classified information and "national

security," courts have long fashioned remedies to meet those concerns. For example,

redactions might be employed to protect the source of such information should such be

warranted, such information might be released to plaintiff or his attorneys under a

protective order, or plaintiff's attorneys might be required to acquire the necessary

security clearance to view the information. These solutions can be worked out after the

government discloses why and what part of the information is sensitive.22 In summary,

plaintiff is entitled to know why he is on the List so that he can attempt to refute such

bases.

                c.       The Adequacy of the Redress Process

         The Redress process is no process at all; rather, the Terrorism Screening

Center, under a cloak of secrecy, issues its ruling, and that's it. Consistent with policy,

that ruling neither confirms nor denies that the person is on the List; rather, as pointed

out in Latif, it normally merely states that, “DHS has researched and completed our

review of your case,” and that “we can neither confirm nor deny any information about



         20
           Id. at 163.
         21
           Id. at 177.
        22
           The Ninth Circuit so held in Latif: "We also leave to the sound judgment of the district court how
to handle discovery of what may be sensitive intelligence information." Latif at 1130.

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you which may be within federal watchlists.” Latif at 1126. And the procedures

advanced by defendants are equally lacking in merit; without being told whether a

person with a Redress number is on the List and, if so, why, defendants argue that filing

an "appeal" in the Court of Appeals will remedy the situation. The Court of Appeals in

Latif, however, recognized that issues of this type are appropriately lodged in this

District Court for initial resolution.

E.      Torture

        Although since 9/11 torture by the United States has been a popular topic,23 and

although American citizens have suffered torture in the UAE24 and other counties,25

there are no relevant appellate decisions on the topic. Perhaps this is because until this

case the courts were not presented with a citizen victim residing in a safe haven who

was willing to face down his own government.

        Defendants argue that insufficient facts have been pleaded to justify this Court's

jurisdiction over plaintiff's claim of torture. Plaintiff has alleged torture at the hands of a

foreign power and that a representative of that foreign power conceded that plaintiff's

detention and torture was part of a cooperative arrangement with the United States. The

State Department's cursory interview at the torture site on July 28, 2011, the State

Department's failure to pursue a follow-up interview, and the lack of assistance provided

by the State Department upon plaintiff's deportation from the UAE are all further


        23
            See Editorial, "Torture by Proxy,” New York Times, March 8, 2005, available at
http://www.nytimes.com/2005/03/08/opinion/08tue1.html?_r=0.
         24
            American Naji Hamdan suffered almost exactly the same treatment as plaintiff during his
incarceration in the same Abu Dhabi secret prison. See http://www.thenation.com/article/naji-hamdans-
nightmare#. Like plaintiff, Mr. Hamdan was blindfolded during all of his interrogations and also has not
been able to return to the United States since his deportation from the UAE.
         25
            See Meshal v. Higgenbotham, No. 09-cv-2178-EGS (D.D.C.) (torture by FBI agents in three
foreign countries).

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indications of official complicity. Additional facts are doubtless available from defendant

Noordeloos, who has so far successfully evaded service of process; once discovery

commences and Mr. Noordeloos is made available, additional facts will be provided.

Consequently, it is premature to dismiss the claim of torture against the United States.

                                         IV. CONCLUSION

       Defendants argue that this matter should not be before this Court and, in a

sense, they are correct. An American citizen should not be tricked into coming into his

own embassy under the guise of being afforded protection, only to find FBI agents who

insist on interrogating him without his attorney present. An American citizen should not

be imprisoned and tortured for 106 days by an ostensible ally of the United States, only

to be released without charge, and with no remonstrance by or repercussion from the

United States. An American citizen should not be forced to enter the dark, cold winter of

Stockholm -- his third -- because his country denied his return home after his arranged

ordeal. Indeed, this matter should not be before this Court -- but, frankly, this Court is

the only place left for plaintiff to turn.

       Defendants argue that this matter should be dismissed because it is not ripe and

because plaintiff has not exhausted his administrative remedies. These arguments have

been dealt with. Defendants then argue that due process requires no process -- that

plaintiff is not entitled to be told why his government took away his precious citizenship

rights. These arguments clearly violate the letter and the spirit of Mathews, not to

mention the text of the Citizenship Clause of the Fourteenth Amendment and the Due

Process Clause of the Fifth Amendment. On the torture claim, plaintiff has pleaded




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sufficient facts to overcome a motion to dismiss; additional salient facts will become

available during discovery, when Mr. Noordeloos and other sources become available.

       For the foregoing reasons, plaintiff respectfully requests that defendants' motion

to dismiss be denied.

DATED at Zigzag, Oregon, on December 9, 2013

                                                 Respectfully submitted,

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